Lisd-casc@4-a0ee | Bhs/36 File@uelsope, | entgred 04/30/24 14:21:31 Desc Main

Document Page'l of 1

Cose Number — IM 310g FILED

U.S. Bankruptcy Court, NCW

) Satat- Mtchack Schoo |
x | Cath endo St Newedte,

.. Steven T. Salata, Clerk |
Neu Nese 4 O77 lay Charlotte Division :

APR 30 2024

2) Wssuranse. Whe. leop
P.O. fox SOYo
Charle Shor , “eo
61 420- 9907

2) Princ “|

XA\ Btgh, Stree}
Dor Mole s, Onrkde Slater

By, Marcon fbr For) JORMWY MARCANS

